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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE: HAIR RELAXER MARKETING                      Case No. 23-CV-818
 SALES PRACTICES AND PRODUCTS
 LIABILITY LITIGATION                               MDL No. 3060

 This document relates to:                          Judge Mary M. Rowland
 All Member Cases                                   Magistrate Judge Sheila M. Finnegan



                           CASE MANAGEMENT ORDER NO. 12
                             (Appointment of Special Master)

       Pursuant to Federal Rules of Civil Procedure 53(a)(1)(A) and (a)(1)(C), the Court hereby

appoints Professor Maura R. Grossman to serve as Special Master in this matter on the terms below

and until further order of this Court. The Court has received and filed declarations from Professor

Grossman, dated March 11, 2024 (Doc. 639) and March 25, 2024 (Doc. 553), disclosing whether

there are any grounds for disqualification under 28 U.S.C. § 455. The Court has determined that

no ground for disqualification exists. Fed. R. Civ. P. 53(a)(2). Consistent with Federal Rule of

Civil Procedure 53(b)(1), the Court has given the parties notice of and an opportunity to be heard

on the appointment of Professor Grossman as Special Master. For the reasons stated during the

status hearing on May 7, 2024, the Court overruled Defendants’ objections to the appointment of

Professor Grossman. As required by Rule 53(a)(3), the Court has considered the fairness of

imposing the likely expenses on the parties and protected against unreasonable expense or delay.

The parties reserve their rights pursuant to Federal Rules of Civil Procedure Rules 53 and 72.

       IT IS FURTHER ORDERED THAT:

       1.      Referral of Disputes to Special Master. The Special Master is appointed to

address and resolve issues and disputes that may arise between the parties in relation to discovery


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of electronically stored information (“ESI discovery”) or the ESI Protocol. (CMO No. 4, Doc.

109). In lieu of bringing a motion before the Court, when the parties have reached an impasse in

relation to an issue involving ESI discovery or the ESI Protocol, they shall notify the Special

Master, who will determine, along with the parties, the best way to proceed in addressing the

dispute in an efficient way, which may, but will not necessarily, involve formal briefing. At times,

the Court may refer a specific ESI discovery dispute to the Special Master. In addition, the Court

may, on the recommendation of the Special Master or sua sponte, elect to resolve a dispute in the

first instance in lieu of the Special Master doing so. While the parties are not foreclosed from

filing a joint motion (nor a party from filing its own motion) seeking leave to submit an ESI-related

dispute directly to the Court for resolution, this is discouraged, and any such motion must

demonstrate good cause. The Special Master is directed to proceed with all reasonable diligence

in the performance of her duties. Fed. R. Civ. P. 53(b)(2).

       2.      Powers of Appointment. The Special Master shall hear and determine any and all

discovery motions and disputes of which she is notified by the parties or referred by the Court

pursuant to Paragraph 1 above.        She is encouraged to resolve disputes informally through

negotiation and other methods where possible. Pursuant to this Order and subject to the procedures

and limitations set forth herein, the Special Master is authorized for all matters referred to her

pursuant to Paragraph 2 herein, to:

               (a) Determine the briefing schedule (if any);

               (b) Set the date, time, and place of all hearings determined by the Special Master
                   to be necessary;

               (c) Conduct in camera reviews as permitted by law;

               (d) Conduct status conferences concerning disputes;

               (e) Preside over discovery hearings concerning disputes, take written evidence if
                   necessary, and rule on objections, motions, and other requests made during or

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                   in connection with discovery hearings concerning disputes; and

               (f) Make reports to the Court, including any findings and recommendations.

       3.      Limitation on Powers of Appointment. For reasons explained during the May 7,

2024 hearing, upon request of the Revlon Defendants, the Court will in the first instance resolve

any technology-assisted review (“TAR”) disputes between Revlon and Plaintiffs rather than have

the Special Master do so.

       4.      Briefings and Hearings. Insofar as reasonably possible, the parties shall meet and

confer in a good-faith effort to resolve any disputes before approaching the Special Master. The

parties may suggest to the Special Master their preferred means of resolving the particular dispute

(e.g., video or in-person mediation, letter briefs, full briefing, etc.), and the Special Master shall

promptly determine and notify the parties how to proceed and set a schedule for submitting or

filing any briefs. Copies of the parties’ written submissions shall be provided to the Special Master

as required. Hearings may be in person or by videoconference or telephone. All in-person hearings

will be at a location mutually agreed upon, unless otherwise ordered. No use of court facilities or

personnel has been requested and such will be allowed only pursuant to Court order.

       5.      Record of Proceedings. The Special Master may, at her discretion, use recording

facilities in a videoconference platform or retain a court reporter to make a record of the

proceedings before the Special Master. With leave of the Special Master, any party, at its option,

may retain a court reporter to make a record of such proceedings. A copy of each transcript

prepared by any court reporter shall be made available to each of the parties and the Special Master.

The cost of any court reporter and/or transcript shall be split between Plaintiffs and Defendants,

with Plaintiffs paying 50 percent and Defendants paying 50 percent of the cost.

       6.      Special Master’s Report and Recommendation or Order. When requested by a

party or the Court or deemed necessary by the Special Master, the Special Master shall file on the

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CM/ECF docket in this matter her Report and Recommendation or Order that includes her findings

and any recommendations or rulings on the merits of any such matter. The Special Master’s filing

on the CM/ECF docket of a Report and Recommendation or Order shall constitute proper service

upon all parties. In the absence of a filing, the Special Master may serve documents by email sent

to Plaintiffs’ Liaison Counsel and Defendants’ Liaison Counsel and/or to other individuals

identified in writing on a service list for the particular dispute. If a Report and Recommendation

or Order to be filed contains confidential information of any party, the cover page must indicate

this and the filing must be under seal with a copy sent by email only to Plaintiffs’ Liaison Counsel

and Defendants’ Liaison Counsel.

       7.      Objections to Special Master’s Report and Recommendation or Order. Unless

a different schedule is set by the Court, a party may file objections to the Special Master’s Report

and Recommendation or Order no later than twenty-one (21) days after the Special Master has

served it, and responses to objections shall be filed within ten (10) days after the objections are

filed. The party filing an objection must also file the relevant record if not filed by the Special

Master with her Report and Recommendation or Order. A hearing on the objections will be held

at the discretion of the Court upon request of a party (with notice of the request to all other parties)

or if deemed necessary by the Court. The Court may adopt or affirm, modify (wholly or partly),

reject or reverse, or resubmit to the Special Master the Report and Recommendation or Order. The

relief provided in the Special Master’s Report and Recommendation or Order shall be stayed

pending the resolution of this objection process.

       8.      Absence of Objections. If no objection to a Report and Recommendation or Order

is filed within twenty-one (21) days after the Special Master has served it, or by an alternative

deadline if one is imposed by the Court, the decision of the Special Master shall be considered



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final and binding.

       9.      Standard of Review. Any order, report, or recommendation of the Special Master

on non-dispositive motions, unless it involves a finding of fact or conclusion of law, will be

deemed a ruling on a procedural matter. The Court will set aside a ruling on a procedural matter

only where it is an abuse of discretion. The Court will decide de novo all objections to findings of

fact or conclusions of law made or recommended by the Special Master. Fed. R. Civ. P. 53(f).

       10.     Ex Parte Communication. The parties shall not engage in ex parte oral or written

communications with the Special Master concerning any matter that in any way relates to these

proceedings, except with the consent of the affected parties (e.g., to mediate an issue in front of

the Special Master). In furtherance of her duties, the Special Master may communicate ex parte

with the Court on any matter and at any time.

       11.     Confidentiality. The Special Master shall be bound by the terms of the Agreed

Confidentiality Order. (CMO No. 5, Doc. 112).

       12.     Records. The Special Master shall preserve, as a record of her activities, all written

submissions received from the parties, all written submissions sent to the parties, any transcripts

of hearings before the Special Master, and any evidence considered in making or recommending

findings of fact on the basis of evidence. The Special Master shall file with the Clerk of the Court

such records upon the request of any party or the Court.

       13.     Reference Fees and Costs. The Special Master shall be compensated at the rate

of $855 per hour, as well as for reasonable costs and expenses. On a monthly basis, the Special

Master shall send to Plaintiffs’ Liaison Counsel and Defendants’ Liaison Counsel via email, with

a copy to the Court, a written bill stating the total hours worked by the Special Master and the fees

and costs charged for that month by the Special Master. The written bill shall organize the hours



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worked by the particular discovery dispute to which they relate, the specific party (or parties)

involved, and provide a clear and detailed description of all work performed. The costs shall

include the cost of any court reporter retained by the Special Master pursuant to Paragraph 5 above,

as well as any adjunct services the Special Master may need. Plaintiffs and Defendants shall split

the fees and costs of the Special Master, with Plaintiffs paying 50 percent and the Defendant(s)

associated with the specific dispute paying 50 percent. Where the work performed is not specific

to a particular Defendant’s dispute (e.g., reading a joint status report filed on behalf of all parties),

the fees will be paid by Liaison Counsel for the parties, subject to allocation among Plaintiff and

Defendant groups as they see fit. Unless there is an objection to the invoice, which shall be raised

with the Special Master within fourteen (14) days of Liaison Counsel’s receipt of the invoice,

payment shall be made to the Special Master by each side’s Liaison Counsel, on behalf of such

Counsels’ respective constituencies, within sixty (60) days. Objections to the Special Master’s

invoices, if not resolved by the Special Master and the parties, will be resolved by the Court.

        14.     Amendments to Order. This Order may be amended at any time after notice to

the parties and an opportunity to be heard. Fed. R. Civ. P. 53(b)(4).



                                                        ENTER:



Dated: June 13, 2024                                   _______________________________
                                                         SHEILA FINNEGAN
                                                         United States Magistrate Judge




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